Case 3:19-cv-00602-LRH-WGC Document 1-2 Filed 09/30/19 Page 1 of 1
AS-44 (Rey, 0617) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

 

purpose of initiating the civil docket sheet. (S&E INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
eee KR RR ARIRT an individual; JAMY KESHMIRI, an individual:
Marionesa Becker, individually and on behalf of all others similarly FANTASY GIRLS, LLC, a Nevada limited liability corporation; DOE
situated MANAGERS 1-3; and DOES 4-100, inclusive,

(b) County of Residence of First Listed Plaintiff Sacramento County of Residence of First Listed Defendant _Washoe

(EXCEPT IN O18. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)
NOTE INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (if Known)

David C. O'Mara, Esq (SBN 08599)
THE O'MARA LAW FIRM, P.C.
311 E. Liberty Street, Reno, NV, tel, (775) 323-1321

 

 

 

 

       

If. BASIS OF JURISDICTION (Place an “X" in One Bax Onk) fil. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “Xin One Bax for Plaintii?
(For Diversity Cases Only) and One Bax for Defendant)
01 US. Government 3 Federal Question PTF DEF PIF DEF
Plaintiff (US. Government Nut a Part) Citizen of Thus State OL OF 1 Incorporated or Principal Place go4a a4
of Business In This State
O2 US. Government 0 4 Diversity Citizen of Another State O2 © 2. Incorporated and Principal Place os as
Defendant (Indicate Crisenship of Parties in Hem ff) of Business In Another State
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IV. NATURE OF SUIT (Ptace an “x in One Box Ont) Click here for: Nature of Sut Code Descriptians,

 

 

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O 625 Drug Related Seizure O 422 Appeal 28 USC 158 ©) 375 False Claims Act
© 120 Manne © 310 Airplane 7 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 376 Qui Tam (31 USC
CO 130 Miller Act (1.315 Aiplane Product Product Liability 0 650 Other 28 USC 157 372%)
G 140 Negotiable Instrument Liability O 367 Health Care/ 7 400 State Reapportionment
OF 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical FEOPERLY RIGHTS J} 430 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copynghts O 430 Banks ond Banking
O 151 Medicare Act 0 330 Federal Employers’ Product Liability G 830 Patent 0 450 Commerce
0 152 Recovery of Defaulted Liability © 368 Asbestos Personal O 835 Patent - Abbreviated 0 460 Deportation
Student Loans O 340 Marine Injury Product | New Drug Application =|) 470 Racketeer Influenced and
(Exctudes Veterans) GO 345 Marine Product Liability 0) 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY [Sj oS E ==] 480 Consumer Credit
of Veteran’s Benefits 6 350 Motor Vehicle O 370 Other Fraud 710 Fair Labor Standards O 861 HA (13988) 0 490 Cable/Sat TV
O 160 Stockholders" Suits 0 355 Motor Vehicle 0 371 Truth in Lending Act ©} 862 Black Lung (923) 0 850 Secunties/Commodities’
£1 190 Other Contract Product Linbility () 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 0 360 Other Personal Property Damage Relations CJ 864 SSID Title XVI O 890 Other Stantory Actions
© 196 Franchise Injury O 385 Property Damage 0 740 Railway Labor Act (7.865 RSI (405(g)) © 891 Agneultural Acts
O 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matera
Medical Matprnctice Leave Aci © 895 Freedom of Information
EAI —_ CTVIDRIGHTS_____ PRISONER C790 Other Labor Litigation [ FEDERALSTAN SUITS Act
© 210 Land Condemnation 0) 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement © 870 Taxes (U.S. Plaintiff OF 896 Arbitration
O 220 Foreclosure O 441 Votung 0 463 Alien Detamee Income Security Act or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment OF 510 Motions to Vacate G 871 IRS—Third Pany Act/Review or Appeal of
O 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Ton Prodnet Liability Accommodations & 530 General 6 958 Consututionality of
© 290 All Other Real Property G 445 Amer. w/Disabilities -| 0 $35 Death Penalty JMAMIGRATHIN. i State Statutes
Employment Other: © 462 Naturalization Application
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V. ORIGIN (Place an "X" in One Bax Only)
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Cite the U_S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity)
Fair Labor Standards Act, 29 U.S.C.§ § 203 and 207

 

 

 

VI. CAUSE OF ACTION

 

 

 

Brief description of cause:
Failure to Pay Wages & Illegal Taking of Tips
VI. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint.
COMPLAINT: UNDER RULE 23, F.RCv.P JURY DEMAND: Bi Yes  <ONo
VIII]. RELATED CASE(S)
IF ANY (Seemsinictis)— WOGE DOCKET NUMBER

 

 

DATE SIGNATURE/DF ATTORNEY OF REC’
@l30| 14 lat chara
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
